AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   SOUTHERN
                                                    __________ DISTRICT     OF IOWA
                                                               District of __________

                  United States of America                          )
                             v.                                     )     Case No. 4:21-mj-00011-HCA-1
                     Douglas Austin Jensen
                                                                    )
                                                                    )
                             Defendant                              )

                                         ORDER SCHEDULING A DETENTION HEARING
                                                       and/or Preliminary Hearing

         A detention and identity hearing in this case is scheduled as follows:

Place: United States Courthouse                                          Courtroom No.: 455 via VTC w/Polk County Jail
         Des Moines, IA
                                                                         Date and Time: 1/19/2021 3:00 pm


        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:     January 12, 2021
                                                                                            Judge’s signature



                                                                          Helen C. Adams, Chief U.S. Magistrate Judge
                                                                                          Printed name and title
